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                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
The PLS.com, LLC,                                                    CASE NUMBER

                                                                                     2:20-cv-04790 JWH (RAO)
                                                      PLAINTIFF(S)
                                    v.
The National Association of Realtors, et al.,                               ORDER TO REASSIGN CASE UPON
                                                                            RECUSAL OF MAGISTRATE JUDGE
                                                                                   FOR DISCOVERY
                                                     DEFENDANT(S).                 PER GENERAL ORDER 05-07

        The undersigned Magistrate Judge to whom the above-entitled case was referred, being of the opinion
that he/she should not hear said case by reason of:
 financial conflict of interest with interested party.




HEREBY ORDERS the case reassigned by the Clerk in accordance with General Order 05-07.




      July 6, 2022
      Date                                                      United States Magistrate Judge



                                              NOTICE TO COUNSEL FROM THE CLERK

         This case has been randomly referred to Magistrate Judge                              Charles F. Eick                    .
On all documents subsequently filed in this case, please substitute the initials           E         after the case number in
place of the initials of the prior judge, so that the case number will read       2:20-cv-04790 JWH(Ex)          . This is very
important because the documents are routed to the assigned judges by means of these initials




cc:     Previous Magistrate Judge


CV-110 (06/14)                           ORDER TO REASSIGN CASE UPON RECUSAL OF MAGISTRATE JUDGE
